Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 1 of 15 PageID: 67



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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 MATTHEW RICHARDS and MARS MEDIA,
 LLC, a New Jersey limited liability
 company,                            Civil Action No.
                                     2:22-cv-01209-CCC-JRA
           Plaintiffs,

    v.                                               PLAINTIFFS’ ANSWER AND
                                                   AFFIRMATIVE DEFENSES TO
 NIK LAMAS-RICHIE, RICHIE MEDIA                          COUNTERCLAIM
 CORPORATION, a Delaware
 corporation, and
 RELIC AGENCY, INC., a California
 corporation,

              Defendants.


         Plaintiffs, Matthew Richards (“Richards”) and Mars Media,

 LLC (“Mars Media,” and together with Richards, “Plaintiffs”),

 by and through their undersigned counsel, hereby responds to

 the     Counterclaim      filed   by       defendants,      Nik    Lamas-Richie

 (“Richie”),    Richie     Media   Corporation       (“Richie      Media”),   and

 Relic    Agency,   Inc.    (“Relic,”       and   together   with    Richie   and

 Richie Media, “Defendants”) as follows:




                                        1
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 2 of 15 PageID: 68



      1.    Plaintiffs deny the allegations contained in Paragraph

1.

                              AS TO “THE PARTIES”

      2.    Upon     information      and       belief,   Plaintiffs      admit    the

allegations contained in Paragraph 2.

      3.    Plaintiffs       admit    only       that   Relic   is    a    California

corporation        that     provided        internet      marketing        consulting

services,    with    a    principal    place      of    business     in   California.

Plaintiffs are without sufficient knowledge or information to

admit or deny the remaining allegations in Paragraph 3.

      4.    Plaintiffs admit only that Richie Media is a Delaware

corporation with a principal place of business in California,

and deny the remaining allegations in Paragraph 4.

      5.    Plaintiffs admit the allegations in Paragraph 5.

      6.    Plaintiffs admit the allegations in Paragraph 6.

                         AS TO “JURISDICTION AND VENUE”

      7.    The     allegations       in     Paragraph     7    constitute        legal

conclusions to which no response is required.                      To the extent a

response is required, Plaintiffs deny that Defendants suffered

any damages and deny that Defendants are entitled to any relief.

      8.    The     allegations       in     Paragraph     8    constitute        legal

conclusions to which no response is required.

                          AS TO “FACTUAL ALLEGATIONS”

      9.    Upon     information      and       belief,   Plaintiffs      admit    the


                                            2
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 3 of 15 PageID: 69



allegations in Paragraph 9.

      10.    Plaintiffs admit the allegations in Paragraph 10.

      11.    Plaintiffs admit only that Richie agreed to provide

internet marketing consulting services to Mars Media in or about

the end of 2021, and deny the remaining allegations in Paragraph

11.     By   way   of      further     response,   Paragraph     11    refers    to   a

document that speaks for itself, and any characterization of its

terms are denied.

      12.    Plaintiffs admit only that the parties entered into an

agreement dated December 8, 2021 (the “Agreement”), and deny the

remaining    allegations         in    Paragraph   12.     By    way    of   further

response,      the         Agreement      speaks    for     itself,       and     any

characterization of its terms are denied.

      13.    Plaintiffs admit only that the parties entered into

the Agreement, and deny the remaining allegations in Paragraph

13.     By   way     of    further     response,   the    Agreement     speaks    for

itself, and any characterization of its terms are denied.

      14.    Plaintiffs admit only that the parties entered into

the Agreement, and deny the remaining allegations in Paragraph

14. By way of further response, the Agreement speaks for itself,

and any characterization of its terms are denied.

      15.    Plaintiffs admit only that Defendants agreed to cease

operations     and        not   compete    with    Plaintiffs,    and     deny    the

remaining    allegations         in    Paragraph   15.     By    way    of   further


                                           3
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 4 of 15 PageID: 70



response,          the   Agreement       speaks     for         itself,    and     any

characterization of its terms are denied.

      16.      Plaintiffs deny the allegations in Paragraph 16.

        17.    Plaintiffs deny the allegations in Paragraph 17.

        18.    Plaintiffs deny the allegations in Paragraph 18.

        19.    Plaintiffs admit only that Plaintiffs terminated the

Agreement for cause on January 21, 2022, and deny the remaining

allegations in Paragraph 19.

        20.    Plaintiffs deny the allegations in Paragraph 20.

        21.    Plaintiffs deny the allegations in Paragraph 21.

        22.    Plaintiffs deny the allegations in Paragraph 22.

        23.    Plaintiffs deny the allegations in Paragraph 23. By

way     of    further       response,    Plaintiffs       deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

                                 AS TO “COUNT ONE”

      20.      Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein. 1

      21.      The allegations in the second Paragraph 21 constitute

legal    conclusions        to   which   no    response    is    required.    To   the

extent       the   second    Paragraph    21    contains    factual       allegations

1
 Defendants’ Counterclaim contains two paragraphs numbered 20,
21, 22, and 23. For ease of reference, Plaintiffs maintain the
format utilized in Defendants’ pleading.


                                          4
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 5 of 15 PageID: 71



directed to Plaintiffs, they are denied.

      22.      The allegations in the second Paragraph 22 constitute

legal    conclusions        to   which   no    response    is    required.     To   the

extent       the   second    Paragraph    22    contains     factual     allegations

directed to Plaintiffs, they are denied.

      WHEREFORE,        Plaintiffs       pray    that      judgment      be    entered

dismissing         Defendants’    Counterclaim      with    prejudice,        together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                                 AS TO “COUNT TWO”

      23.      Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      24.      Plaintiffs deny the allegations in Paragraph 24.

      25.      Plaintiffs deny the allegations in Paragraph 25. By

way     of    further       response,    Plaintiffs       deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,        Plaintiffs       pray    that      judgment      be    entered

dismissing         Defendants’    Counterclaim      with    prejudice,        together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.




                                           5
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 6 of 15 PageID: 72



                            AS TO “COUNT THREE”

      26.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      27.    Plaintiffs deny the allegations in Paragraph 27.

      28.    Plaintiffs deny the allegations in Paragraph 28. By

way   of    further    response,   Plaintiffs     deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                            AS TO “COUNT FOUR”

      29.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      30.    Plaintiffs deny the allegations in Paragraph 30.

      31.    Plaintiffs deny the allegations in Paragraph 31. By

way   of    further    response,   Plaintiffs     deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with    prejudice,      together


                                     6
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 7 of 15 PageID: 73



with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                            AS TO “COUNT FIVE”

      32.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      33.    Plaintiffs deny the allegations in Paragraph 33.              By

way of further response, Paragraph 33 refers to the Agreement,

which speaks for itself, and any characterization of its terms

are denied.

      34.    Plaintiffs deny the allegations in Paragraph 34.

      35.    Plaintiffs deny the allegations in Paragraph 35.

      36.    Plaintiffs deny the allegations in Paragraph 36.

      37.    Plaintiffs deny the allegations in Paragraph 37. By

way   of    further    response,   Plaintiffs     deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.




                                     7
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 8 of 15 PageID: 74



                             AS TO “COUNT SIX”

      38.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      39.    Plaintiffs deny the allegations in Paragraph 39.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                            AS TO “COUNT SEVEN”

      40.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      41.    Plaintiffs deny the allegations in Paragraph 41.

      42.    Plaintiffs deny the allegations in Paragraph 42.

      43.    Plaintiffs deny the allegations in Paragraph 43.

      44.    Plaintiffs deny the allegations in Paragraph 44.

      45.    Plaintiffs deny the allegations in Paragraph 45. By

way   of    further    response,   Plaintiffs     deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with     prejudice,     together

with costs, attorneys’ fees, and such other and further relief


                                     8
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 9 of 15 PageID: 75



as this Court deems just and proper.

                            AS TO “COUNT EIGHT”

      46.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      47.    Plaintiffs deny the allegations in Paragraph 47.

      48.    Plaintiffs deny the allegations in Paragraph 48.

      49.    Plaintiffs deny the allegations in Paragraph 49.

      50.    Plaintiffs deny the allegations in Paragraph 50.              By

way   of    further    response,   Plaintiffs     deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs   pray    that      judgment    be    entered

dismissing    Defendants’    Counterclaim     with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                            AS TO “COUNT NINE”

      51.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      52.    Plaintiffs deny the allegations in Paragraph 52.              By

way of further response, Paragraph 52 refers to the Agreement,

which speaks for itself, and any characterization of its terms

are denied.


                                     9
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 10 of 15 PageID: 76



      53.    Plaintiffs deny the allegations in Paragraph 53.

      54.    Plaintiffs deny the allegations in Paragraph 54.

      55.    Plaintiffs deny the allegations in Paragraph 55.

      56.    Plaintiffs deny the allegations in Paragraph 56. By

way    of   further    response,    Plaintiffs    deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs    pray   that      judgment    be    entered

dismissing     Defendants’    Counterclaim    with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                             AS TO “COUNT TEN”

      57.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      58.    Plaintiffs deny the allegations in Paragraph 58.              By

way    of   further    response,    Plaintiffs    deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs    pray   that      judgment    be    entered

dismissing     Defendants’    Counterclaim    with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.




                                     10
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 11 of 15 PageID: 77



                           AS TO “COUNT ELEVEN”

      59.    Plaintiffs repeat each and every response set forth in

the preceding paragraphs of their Answer as if fully set forth

at length herein.

      60.    Plaintiffs deny the allegations in Paragraph 60.

      61.    Plaintiffs deny the allegations in Paragraph 61. By

way    of   further     response,   Plaintiffs    deny    that    Defendants

suffered any damages and deny that Defendants are entitled to

any relief.

      WHEREFORE,      Plaintiffs    pray   that      judgment    be    entered

dismissing     Defendants’     Counterclaim   with    prejudice,      together

with costs, attorneys’ fees, and such other and further relief

as this Court deems just and proper.

                           AFFRIMATIVE DEFENSES

                         FIRST AFFRIMATIVE DEFENSE

       Defendants’ Counterclaim, in whole or in part, fails to

 state a claim upon which relief can be granted.

                        SECOND AFFIRMATIVE DEFENSE

       Defendants’ claims are without legal or factual basis, are

 frivolous, and violate Rule 11.

                        THIRD AFFIRMATIVE DEFENSE

       Defendants’ damages, if any, occurred as the direct and

 proximate     result     of    Defendants’      intentional,      unlawful,



                                     11
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 12 of 15 PageID: 78



 fraudulent, and/or wrongful acts.

                       FOURTH AFFIRMATIVE DEFENSE

       Defendants have breached the Agreement with Plaintiffs,

 and are thus barred from recovery or equitable relief.

                        FIFTH AFFIRMATIVE DEFENSE

       Defendants’    claims    are     barred,   in   whole    or   in   part,

 because they have not suffered              any damages as     a result of

 Plaintiffs’     alleged   acts    or    omissions,    and/or    because     of

 Defendants’ own failure to mitigate, minimize, or avoid the

 damages they allegedly suffered.

                        SIXTH AFFIRMATIVE DEFENSE

       All of Plaintiffs’ actions were taken in good faith, and

 with the reasonable belief that they were in compliance with

 the terms of the Agreement and all statutes and other laws.

                      SEVENTH AFFIRMATIVE DEFENSE

       Defendants’ claims, in whole or in part, are barred by

 reason of the parties’ course of performance.

                       EIGHTH AFFIRMATIVE DEFENSE

       Defendants’ claims, in whole or in part, are barred by the

 express terms of the Agreement.

                        NINTH AFFIRMATIVE DEFENSE

       Defendants’ claims, in whole or in part, are barred to the


                                        12
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 13 of 15 PageID: 79



 extent that any alleged damages or loss arises from Defendants’

 own actions, omissions, or other conduct.

                        TENTH AFFIRMATIVE DEFENSE

       Defendants’ claims, in whole or in part, are barred by

 reason of Defendants’ material breach of the Agreement and/or

 failure to perform in accordance therewith.

                      ELEVENTH AFFIRMATIVE DEFENSE

       Defendants’ claims, in whole or in part, are barred by the

 doctrine of laches and/or unclean hands.

                      TWELFTH AFFIRMATIVE DEFENSE

       Defendants’ claims are barred, in whole or in part, by the

 doctrines of waiver and/or estoppel.

                     THIRTEENTH AFFRIMATIVE DEFENSE

       Defendants’ claims are barred, in whole or in part, by the

 doctrine of accord and satisfaction.

                     FOURTEENTH AFFIRMATIVE DEFENSE

       Defendants’ claims are barred, in whole or in part, by

 reason of recoupment and/or setoff.

                     FIFTEENTH AFFIRMATIVE DEFENSE

       Defendants’ claims are barred, in whole or in, pursuant to

 the Statute of Frauds.




                                     13
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 14 of 15 PageID: 80



                       SIXTEENTH AFFIRMATIVE DEFENSE

       Defendants’      claims    are    barred,      in    whole     or     in   part,

 pursuant to Statute of Limitations.

                    SEVENTEENTH AFFIRMATIVE DEFENSE

       Defendants’      claims    are    barred,      in    whole     or     in   part,

 because their alleged damages and injuries were caused by the

 acts or omissions

       WHEREFORE,      Plaintiffs       pray    that       judgment     be    entered

 dismissing    Defendants’       Counterclaim        with   prejudice,       together

 with costs, attorneys’ fees, and such other and further relief

 as this Court deems just and proper.




                           RESERVATION OF RIGHTS

       Plaintiffs      reserve   the    right    to    amend    their      Answer    to

 Defendants’      Counterclaim      and/or      to     assert    any       additional

 separate    or   affirmative      defenses      as    additional       information

 becomes available.




              DEMAND FOR SPECIFICATION OF MONEY DAMAGES

       Pursuant to Local Civil Rule 8.1, Plaintiffs demand that

 Defendants, within fourteen (14) days, furnish Plaintiffs with

 a   statement    of    the   amount     of     actual      damages     claimed     by



                                         14
Case 2:22-cv-01209-CCC-JRA Document 16 Filed 08/30/22 Page 15 of 15 PageID: 81



 Defendants     as   to   Plaintiffs,     with   particularity,   and   the

 methodology in calculating those damages.



                                          O’TOOLE SCRIVO, LLC

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Dated: August 30, 2022




                                     15
